
Van Wyck, J.
Under a written contract between the parties to this action plaintiff agreed to go to defendant’s mines in Honduras, and work for two years at $100 per month, and his board and lodgings, and defendant was to return him $72.50, his passage money out, at the completion of his term of employment. The defendant had the option to terminate the contract at any time. Plaintiff went to the mines, and worked for eleven months, was paid $1,100, was furnished board for nine months, and received $50 towards his board for two months, but which cost him about $70. He says that the superintendent informed him that there was no work for him to do, and that, as he was sick, he must return to New York, and that he (plaintiff) then demanded a return of his passage money, with the extras for board, etc., but was informed that a letter would be ivritten to the New York office, and that, when he arrived there, everything would be found satisfactory, and his demands paid. The plaintiff so returned, and made such demands, including the $72.50 and the extras for his two months’ board, which was refused, whereupon he brought this suit, and the jury, after a charge and rulings, which if anything, were too favorable to plaintiff, found for him in $116.46. No error having been made, and the verdict not being against the weight of evidence, the judgment and order are affirmed, with costs.
